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                                    IN THE UNITED STATES DISTRICT COURT

                                         FOR THE DISTRICT OF OREGON

                                                 PORTLAND DIVISION


        CENTURY SURETY COMPANY,
                                                                Civil No. 3:18-cv-02077-BR
                                    Plaintiff,
                    v.                                          DEFENDANT R.S.’S MOTION
                                                                FOR EXTENSION OF TIME TO
        AGEAN, INC. dba PALLAS CLUB, an                         FILE RESPONSIVE PLEADING
        Oregon corporation; R.S., an
        individual,

                                    Defendants.


                                            I. LR 7.1 CERTIFICATION
                    Counsel for Defendant R.S. certifies that before filing this motion, a good

        faith effort was made to resolve the issues raised in this motion. On January

        31, 2019, counsel for R.S. sent an email to counsel for Plaintiff Century Surety

        Company requesting that Century agree to an extension of time to file a




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        responsive pleading.1 Century agrees to a one-week extension of time, but

        objects to a 30-day extension.2 Because the parties were unable to resolve the

        issues addressed in this motion, R.S. requests authorization from the court for

        a 30-day extension.3

                                          II. RELIEF REQUESTED
                    Defendant R.S. requests that the court grant a 30-day extension of time

        to file an answer or responsive pleading in this case. This is R.S.’s first request

        for an extension. Plaintiff Century does not oppose a one week extension, but

        does oppose a 30-day extension.4

                                                III. AUTHORITY
                    Pursuant to LR 16-3, the court has authority to extend the deadline to

        file a responsive pleading for good cause shown. R.S., here, requests that the

        court authorize a 30-day extension in this case. This is R.S.’s first request for

        an extension.

                    R.S. is a victim of child sex trafficking. She filed a lawsuit against the

        strip clubs and exotic magazine where she was trafficked as a minor (the

        “Underlying Action”).5

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        1Declaration of Janis C. Puracal in Support of R.S.’s Motion for Extension of
        Time to File Responsive Pleading (“Puracal Decl.”) ¶ 2.
        2   Id.
        3   Id.
        4   Id.
        5   Complaint in Underlying Action [Dkt. No. 1-1].

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                    Century provided insurance to Defendant Agean, Inc. dba Pallas Club,

        one of the strip clubs where R.S. was trafficked and a defendant in the

        Underlying Action.6 Century filed this declaratory judgment action on

        December 3, 2018, against Agean and R.S. in order to avoid the duty to defend

        or indemnify Agean in the Underlying Action.7

                    R.S. agreed to waive service, and her answer to the complaint is due by

        February 4, 2019.8 R.S., however, intends to file a motion to stay this

        declaratory judgment action pending resolution of the Underlying Action based

        on Oregon law.9

                    R.S. intends to confer with counsel for Century to determine whether the

        parties can agree to a voluntary stay.10 R.S. seeks a 30-day extension of time

        to file a responsive pleading in order to confer with counsel for Century and file

        a motion if the parties cannot agree to a voluntary stay.

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        6   Complaint ¶ 17 [Dkt. No. 1].
        7   Id.
        8   Puracal Decl. ¶ 3.
        9   Id. ¶ 4.
        10   Id.

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                                                IV. CONCLUSION
                    Based upon the foregoing, R.S. requests a 30-day extension of time to file

        a responsive pleading or motion in this case. The new deadline would be

        March 4, 2019.

                    DATED: February 1, 2019

                                                MALONEY LAUERSDORF REINER, PC



                                                By /s/Janis C. Puracal
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